   Case 1:18-cv-00134-BKS-ATB         Document 28-4          Filed 05/15/18   Page 1 of 5




                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF NEW YORK


NEW YORK STATE RIFLE AND PISTOL               )
ASSOCIATION, INC., et al.,                    )
                                              )
                    Plaintiffs,               )
                                              ) Civil Action No. 18-cv-134-BKS-ATB
      v.                                      )
                                              )
GEORGE P. BEACH II, et al.,                   )
                                              )
                    Defendants.



                PLAINTIFFS’ MEMORANDUM IN SUPPORT OF
           THEIR MOTION FOR LEAVE TO AMEND THE COMPLAINT




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May 15, 2018
   Case 1:18-cv-00134-BKS-ATB               Document 28-4         Filed 05/15/18     Page 2 of 5




        Pursuant to FED. R. CIV. P. 15 and 21 and Local Rule 7.1(a)(4), Plaintiffs respectfully move

this Court for leave to amend their Complaint in this action to add an additional plaintiff. Plaintiffs

have consulted with counsel for the defendants concerning this motion, and the defendants do not

oppose it. In support of their request, Plaintiffs state as follows:

        1.      Plaintiffs New York State Rifle and Pistol Association, Inc. (“NYSRPA”) and

Robert Nash brought this suit on February 1, 2018, to challenge New York’s restrictions on the

right to carry firearms in public. The Defendants moved to dismiss the Complaint on March 26,

and the Parties have recently completed briefing that motion.

        2.      Plaintiffs seek to amend their Complaint by adding an additional plaintiff, Brandon

Koch. As detailed in the proposed Amended Complaint, which is attached to this motion as

Attachment A, Mr. Koch, like current Plaintiff Robert Nash, meets all of New York’s eligibility

requirements for a Handgun Carry License, but his application for such a license was denied by

Defendant McNally for failure to show “proper cause.” The legal allegations and claims asserted

by Mr. Koch in the proposed Amended Complaint are substantively identical to those alleged by

Plaintiffs Nash and NYSRPA in the current operative Complaint.

        3.      After the defendant has filed a response but before trial, FED. R. CIV. P. 15(a)(2)

allows the plaintiff to amend its complaint “with the opposing party’s written consent or the court’s

leave.” “The court should freely give leave when justice so requires.” Id. “The rule in this Circuit

has been to allow a party to amend its pleadings in the absence of a showing by the nonmovant of

prejudice or bad faith.” Pasternack v. Shrader, 863 F.3d 162, 174 (2d Cir. 2017); see also Grullon

v. City of New Haven, 720 F.3d 133, 139 (2d Cir. 2013) (“When a party requests leave to amend

his complaint, permission generally should be freely granted.”).




                                                   1
   Case 1:18-cv-00134-BKS-ATB             Document 28-4        Filed 05/15/18      Page 3 of 5




       4.      Here, there can be no suggestion that Plaintiffs have acted in bad faith. Nor will

amendment cause any prejudice to Defendants. Because Mr. Koch’s allegations and claims are

substantively identical to those of the existing plaintiffs—and are asserted against the same

defendants—his addition to the case does not materially change the nature or scope of the

litigation. Moreover, as discussed below, because of the identity of Mr. Koch’s allegations and

those of the existing plaintiffs, Defendants’ Motion to Dismiss (Mar. 26, 2018), Doc. 19, may be

applied to the Amended Complaint and need not be refiled, unless the Court instructs otherwise.

Accordingly, leave should be “freely granted.” Grullon, 720 F.3d at 139. Indeed, the lack of

prejudice here is shown by Defendants’ consent to the motion.

       5.      Because Plaintiffs’ proposed amendment would add parties to the litigation, it is

also arguably governed by Rule 21, which allows parties to be added by leave of the Court “on

just terms.” See Renard v. Dillman, 162 F.3d 1148 (2d Cir. 1998) (table). But even if Rule 21 is

technically controlling in these circumstances, the cases are in agreement that “the Court is guided

by the same standard of liberality afforded to motions to amend pleadings under Rule 15.” SEB

S.A. v. Montgomery Ward & Co., 2002 WL 31175244, at *4 (S.D.N.Y. Oct. 1, 2002) (quotation

marks omitted); see also Oneida Indian Nation of New York State v. County of Oneida, 199 F.R.D.

61, 72 (N.D.N.Y. 2000). Accordingly, for the reasons articulated above, Plaintiffs’ motion should

be granted under either rule.

       6.      As noted, Plaintiffs have consulted with counsel for Defendants concerning this

motion. Plaintiffs believe, and we understand Defendants to agree, that given the substantive

identity between Mr. Koch’s allegations and claims and the allegations and claims in the current

operative complaint, the arguments and defenses advanced in Defendants’ pending Motion to

Dismiss would apply to the proposed Amended Complaint to the same extent as the original




                                                 2
   Case 1:18-cv-00134-BKS-ATB             Document 28-4          Filed 05/15/18   Page 4 of 5




Complaint. Accordingly, if the Court grants leave and the proposed Amended Complaint is filed,

we submit that the Motion to Dismiss and accompanying briefs will run against the Amended

Complaint of their own force and need not be refiled, unless the Court instructs otherwise.

       WHEREFORE, Plaintiffs respectfully request the Court’s leave to amend their Complaint

and add Mr. Koch as an additional Plaintiff in this action.


       Dated: May 15, 2018                           Respectfully submitted,

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       Peter A. Patterson*
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                                                 3
   Case 1:18-cv-00134-BKS-ATB               Document 28-4         Filed 05/15/18   Page 5 of 5




                                  CERTIFICATE OF SERVICE

        I hereby certify that on May 15, 2018, I electronically filed the foregoing with the Clerk

of the Court using the CM/ECF system, which will cause a copy of the document to be served

electronically on all parties or their counsel.


                                                      s/ Kathleen McCaffrey Baynes
                                                      Kathleen McCaffrey Baynes

                                                      Attorney for Plaintiffs




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